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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 BOKF, N.A., as Indenture Trustee,
                                 )
                                 )
      Plaintiff,                 )
                                 )
 vs.                             )                     Civil Action No. 21-00031-KD-B
                                 )
 GORDON JENSEN HEALTH CARE       )
 ASSOCIATION, INC.;              )
 KNOLLWOOD NH, LLC;              )
 CONQUEST HEALTH SYSTEMS, LLC; )
 MARSH POINTE MANAGEMENT, LLC; )
 and MEDICAL CLINIC BOARD OF THE )
 CITY OF MOBILE (SECOND),        )
                                 )
      Defendants.                )

                                              ORDER

        This action is before the Court on the Motion to Approve Compensation for Services

 Rendered and Expenses Incurred as Counsel to Receiver from March 1, 2022 through March 31,

 2022, by Waller Lansden Dortch & Davis LLP (doc. 159). Waller seeks approval of

 compensation in the amount of $25,857.50 for attorney fees and $338.97 for expenses (Id., p. 4).

        Waller asserts that the compensation and reimbursement requested is reasonable and

 incurred for services necessary to the Receiver’s performance and exercise of his duties and

 responsibilities. In support, Waller cites to certain provisions in the Order appointing the

 Receiver (doc. 43, ¶¶ 8, 19, 36). Waller also provides time records which describe the services

 provided; identify the attorney performing the services, the time expended by that attorney, and

 the hourly rate; and the total fees (Exhibit A to the Motion).

        The thirty (30) day period for objection has passed (doc. 43, ¶ 36). To date, no objection

 has been filed.
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        Upon consideration of the Motion/Fee Application, the time records, the Order

 appointing the Receiver, and the absence of any objection, the Motion (doc. 159) is GRANTED.

 Accordingly, the Fee Application is approved, and the Receiver is directed to pay, without

 further court order and at such times as the Receiver determines in his discretion that funds are

 available, the compensation requested.

        DONE and ORDERED this the 28th day of June 2022.


                                               s/ Kristi K. DuBose
                                               KRISTI K. DuBOSE
                                               UNITED STATES DISTRICT JUDGE




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